                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                ASHEVILLE DIVISION
                               CASE NUMBER 1:20CV66

CARYN DEVINS STRICKLAND,                  )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Defendants.                         )


                   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




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                                        INTRODUCTION

       The Federal Judiciary takes reports of sexual harassment by Judiciary employees very seriously.

That is why, when Plaintiff Caryn Strickland reported that she had been harassed, officials at the

Federal Defender’s Office for the Western District of North Carolina (“FDO”) and the Fourth Circuit

Court of Appeals took prompt and effective action consistent with the Fourth Circuit’s Employment

Dispute Resolution Plan (“EDR Plan”), including by separating Plaintiff from the person she accused

of harassment and launching an investigation to determine the facts. The independent investigator

concluded that Plaintiff had experienced sexual harassment only “in her mind” and that the claim was

“very flimsy.” After years of litigation, the evidentiary record confirms those conclusions,

unequivocally demonstrating that Plaintiff’s accusation that she was sexually harassed by the First

Assistant is baseless and untrue. Defendants are therefore entitled to summary judgment on Plaintiff’s

equal protection claim. Similarly, the evidence refutes Plaintiff’s due process claim because Plaintiff

understood that a judicial officer—not the Federal Defender—would have decided her EDR claim

had she proceeded to a formal hearing instead of voluntarily withdrawing her claim.

       Plaintiff’s claims also fail for another, independent reason—there is no remedy available to

her. Although Plaintiff seeks front pay in lieu of reinstatement, she cannot prove that she was

constructively terminated so she cannot recover lost wages. Moreover, Plaintiff’s retention of federal

records containing privileged information after the conclusion of her employment makes her ineligible

for reinstatement or for front pay, given the high ethical standards expected of FDO attorneys. For

these reasons, as discussed further below, the Court should enter summary judgment for Defendants.

                                               FACTS
I.     Plaintiff is hired as a Research & Writing Specialist.

       On August 21, 2017, Plaintiff began work as a Research & Writing (“R&W”) Specialist, GS14,

Step 1, in the FDO. Ex. 1, Decl. of William Moormann ¶ 5; Ex. 2, Decl. of J.P. Davis ¶15. R&W

Specialists are developmental trial and appellate support positions for attorneys who do not have

substantial litigation experience. Ex. 1, ¶ 6. R&W Specialists are not permitted to handle their own


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caseloads but may be a second-chair to an Assistant Federal Defender (“AFD”). Ex. 3, Decl. of

Anthony Martinez ¶ 12.

        Plaintiff did not have first-hand experience trying cases, representing clients, or defending

criminal defendants. Ex. 1, ¶ 7. Because of her inexperience, the Defender assigned the First Assistant

to be her mentor. Ex. 4, Dep. of Anthony Martinez at 98:3-25. The First Assistant and Plaintiff had

four mentoring lunches during this period. Ex. 2 ¶ 16; Ex. 5, Email from J.P. Davis to Caryn Devins

(Feb. 27, 2018). Plaintiff, who lived near the First Assistant’s house for a period and generally biked

to work, would also occasionally ask him for rides home. Ex. 6, Dep. of Caryn Strickland at 66:6-

67:13; Ex. 7, Second. Decl. of J.P. Davis ¶ 3; Ex. 2, ¶ 17.

II.     Plaintiff threatens to quit unless she is transferred to Asheville to be near her husband.

        On May 18, 2018, the First Assistant and Plaintiff had their fourth and final mentoring lunch.

Ex. 2, ¶ 20. During lunch, Plaintiff told the First Assistant she wanted to second-chair a difficult trial,

which carried a potential life sentence (“Life Trial”) and which was already staffed with one of the

office’s most junior AFDs. Id. The First Assistant advised Plaintiff to focus on more suitable trial

opportunities, since assigning FDO’s two least experienced attorneys as the trial team would risk

ineffective assistance of counsel claims. Id.

        After lunch, on the drive back to the office, Plaintiff stated that she was not happy living in a

separate city from her husband, and stated, “If I don’t get moved to Asheville, I’m going to have to

quit.” Id. The First Assistant told Plaintiff he was sorry to hear that because there were no office spaces

available in Asheville. Id. Plaintiff then stated she would be open to “alternative arrangements,” and

raised the idea that she could telework from Tryon doing only appeals. Id. She told the First Assistant

that if she could not be guaranteed a move to Asheville, she at least wanted more money, specifically

promotion to GS-15 or to become an AFD. Id.

        The First Assistant considered Plaintiff a valuable employee and wanted her to remain at the

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FDO, so he reviewed salary tables to see if the FDO could provide her with a raise since a duty station

transfer to Asheville was not possible. Id., ¶ 21. Based on this review, the First Assistant sent Plaintiff

an email with the subject line “mas dinero” saying that she was “shooting high” with her demand to

be promoted to a GS-15, but said he had “a plan.” Id., ¶ 22; Ex. 9 at US89. The First Assistant did not

explain his plan because he needed to discuss with the Defender how to transition Plaintiff to an AFD.

Id. Because their earlier conversation had ended on a friendly note, the First Assistant ended the email

with a pun, “pay-for-stay,” as a joking reference to Plaintiff’s own demand for an increase in pay in

order to stay in the FDO in the absence of a duty-station transfer. Ex. 2, ¶ 22.

III.    Plaintiff pursues her own agenda.

        The First Assistant was out of the office the following week, but learned from a colleague that

the Defender had approved Plaintiff’s request to add her to the Life Trial team and that Plaintiff did

not raise with the Defender the issue that assigning the two most inexperienced attorneys to this case

could result in ineffective assistance of counsel claims. Ex. 3, ¶¶ 39-43; Ex. 2, ¶ 23. Subsequently, after

two Team Leaders objected directly to the Defender on these grounds, the Defender removed Plaintiff

from the team. Ex. 3, ¶¶ 40-43. However, on June 5, 2018, Plaintiff emailed the First Assistant to

cancel a pre-existing client obligation to work on the Life Trial case. Ex. 2, ¶ 27. The First Assistant

directed Plaintiff to attend the pre-existing meeting. Id., ¶¶ 26-27.

        On June 14, 2018, the First Assistant requested Plaintiff’s help on a case, and she responded

that she was “happy to help in any way [she could].” Ex. 8, Email from Caryn Devins to J.P. Davis

(June 14, 2018). On June 19, after the First Assistant filed a brief that the two had been working on

together, he told Plaintiff he was going to “get a celebratory drink” and that she was “welcome to

join” him, but he believed she could not because she had “an appellate brief to write.” Ex. 9 at US 91,

Emails from J.P. Davis to Caryn Devins (June 2018).

        On June 21, Plaintiff asked if the First Assistant would be in the office at 5 PM to meet. Ex.

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2, ¶ 30. Their meeting addressed topics in their joint case and unrelated legal topics that Plaintiff

wanted his opinion on. Id. At the end of the meeting, a thunderstorm was blowing in, so the First

Assistant offered to give Plaintiff, who had biked to work, a ride home—as he had done, at her request,

on prior occasions. Id.; see also Ex. 6 at 65:6-67:13. Plaintiff stated she did not think it would rain, and

if it did, she was “tough.” Ex. 2 ¶ 30. Minutes later, it began to pour. Id. Because Plaintiff was in an

interior office, the First Assistant texted her “it is currently raining. Last chance for a ride tough girl[.]”

Id. Shortly thereafter, he headed down to the lobby, and because Plaintiff had not responded to his

text and it was still raining heavily, he briefly waited to give her a chance to see the text. Id. When

Plaintiff came down the elevator, the First Assistant asked if she was sure she did not want a ride, and

she said she was. Id. The First Assistant and Plaintiff then both left, using exits on opposite sides of

the lobby. Id.

        On June 27, 2018, the First Assistant emailed Plaintiff to “catch up” and schedule another

mentoring session. Ex. 10, Email from J.P. Davis to Caryn Devins (June 27, 2018). He explained that

they could have the session “over lunch, or cut out early one day for a celebratory . . . drink, or we can

just do it in the office[.]” Id. Eventually the meeting was scheduled for July 2. Ex. 2, ¶ 33. The First

Assistant had outlined his plan to discuss at the meeting how Plaintiff could develop better coping

skills for the high-stress nature of their work. Id., ¶¶ 32-33. Plaintiff, however, redirected the discussion

to address her belief that he had spoken too harshly to her on June 5 about honoring the pre-existing

client obligation. Id., ¶ 33.

        A few days later, Plaintiff approached the Defender to complain about the First Assistant’s

conduct toward her during that June 5 interaction. Ex. 3, ¶¶ 44, 46. On July 5, the Defender called

both Plaintiff and the First Assistant into his office to “clear the air.” Id., ¶ 47. Plaintiff refused to

discuss anything with the First Assistant present, so he left the room, and Plaintiff’s primary focus was

concern about her performance. Id., ¶¶ 48-50. Plaintiff also mentioned that the First Assistant had

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offered her a ride home and waited in the lobby, and at some point used the word “uncomfortable”

in relation to the First Assistant. Id., ¶¶ 50-51. The Defender asked Plaintiff what she meant and if she

was alleging sexual harassment. Id., ¶ 51. Plaintiff said she was not, and specifically asked the Defender

not to report or otherwise escalate. Id., ¶¶ 51-53, 55; Ex. 6 at 78:3-80:4.

        On July 22, the First Assistant emailed Plaintiff asking to discuss case management. She did

not respond. This was their last substantive interaction. Ex. 2, ¶ 37. On July 24, Defender instructed

the First Assistant not to email, text, or meet with Plaintiff until further notice. Ex. 11, Text Message

from Anthony Martinez to J.P. Davis (July 24, 2018).

IV.     Plaintiff complains of sexual harassment and the Defendants take prompt action.
        On August 9, 2018, the Defender again met with Plaintiff, who made several demands,

including that she be transitioned to an AFD, the organizational chart be changed, and she be

transferred to Asheville or authorized telework. Ex. 3, ¶¶ 74-78. The Defender explained that he

planned to convert the R&W Specialists to AFDs, that he would remove her from the First Assistant’s

chain of command, that he did not have space in Asheville, and that he would not authorize telework

because it would open the floodgates to requests from others. Id., ¶¶ 75-78.

        On August 10, Plaintiff emailed the Defender purporting to recap the August 9 conversation.
Id., ¶ 79. In the email, Plaintiff claimed that the First Assistant had sexually harassed her. Id., ¶¶ 79-80.

The Defender then promptly reported the alleged wrongful conduct, pursuant to Chapter IX of the

EDR Plan, to the Circuit Executive of the Fourth Circuit, who also served as the EDR Coordinator.

Id., ¶¶ 80-83. Under Chapter IX, “[t]he person who receiv[es] [] a report [of wrongful conduct] has

the responsibility to notify the EDR Coordinator as soon as possible.” Ex. 12, Consolidated Equal

Employment Opportunity & Employment Dispute Resolution Plan (Nov. 2018), Ch. IX. After

wrongful conduct is reported, “[t]he Chief Judge and/or unit executive shall ensure that the allegations

in the report are appropriately investigated, either by the human resources manager or other person.”

Id. Accordingly, after the Defender reported the alleged wrongful conduct, the Circuit Executive

contacted an HR Specialist in the Western District of North Carolina and asked her to investigate

                                                     5

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Plaintiff’s claims of harassment to determine if additional action was warranted. Ex. 13 at US617,

Email from James Ishida to Lisa Morris (Aug 14, 2018).

       The Defender took several steps to protect Plaintiff during the investigation. On August 17,

2018, at Plaintiff’s request, the Defender authorized Plaintiff to telework during the pendency of the

investigation, which she did until March 15, 2019, when she transitioned to a Fourth Circuit clerkship.

Ex. 3, ¶ 93; Ex. 1, ¶ 37; see also Ex. 13 at US615 (email from the Defender to Circuit Executive

describing changes made to protect Plaintiff); Ex. 14 at US977, Emails between Caryn Devins and

Nancy Dunham (August 2018) (email from Plaintiff saying that working remotely “is completely fine

with me”). Additionally, in late August 2018, Plaintiff was provided a private office, in the event she

wanted to exercise her option under the telework agreement to return to the Charlotte office. Ex. 1,

¶ 35. And as noted, the Defender instructed the First Assistant not to contact Plaintiff. Ex. 11.

       On August 20, 2018, at Plaintiff’s request, Plaintiff was reclassified from R&W Specialist to

an AFD, with Plaintiff’s salary remaining at the maximum authorized amount. Ex.1, ¶¶ 18-22.

V.     Plaintiff files a request for counseling and makes a report of wrongful conduct.
       On September 10, 2018, while the investigation was ongoing, Plaintiff again reported wrongful

conduct (as encouraged under Chapter IX) and submitted a Request for Counseling under Chapter X

of the Plan, naming both the First Assistant and the Defender. Ex. 15, Decl. of James Ishida, ¶ 4; Ex.

16, Email from Caryn Devins to James Ishida (Sept. 10, 2018). While Chapter IX of the Plan was

“intended to be informal and has no formal procedures or time frames,” Ex. 17, Decl. of Jill Langley,

¶ 5, Chapter X governs employees’ formal complaints where they seek personal relief. Under Chapter

X, an employee “who believes that his or her rights under . . . this Plan have been violated must first

request counseling.” Ex. 12, Ch. X § 8(A). After the counseling period concludes, the employee “may

file a request for mediation with the EDR Coordinator.” Id., Ch. X § 9(A). If mediation is not

successful, an employee may then “file a complaint with the EDR Coordinator, who will transmit the

complaint to the Chief Judge and to the respondent.” Id., Ch. X § 10(A). The presiding judicial officer

may either dismiss the complaint or hold a hearing on the merits, id., Ch. X § 10(B)(1), after which the


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judicial officer will issue a “final decision” and if warranted, order certain remedies outlined in the

plan, id., Ch. X § 10(B)(2)(f)-(g).

VI.     Plaintiff requests mediation, withdraws her Chapter X claim, and resigns.
        Plaintiff’s counseling period ended on January 14, 2019, Ex. 18, Letter from James Ishida to

Caryn Devins (Jan. 16, 2019), and on January 31, she requested mediation. Ex. 15, ¶ 19. On February

14, 2019, Plaintiff also met with the AO’s Judicial Integrity Officer, whose role was in part to advise

members of the judiciary about the EDR process. Ex. 19, Dep. of Jill Langley at 47:21-48:21, 64:21-

65:1; Ex. 44, Second Decl. of Jill Langley, ¶¶ 5,9. During Plaintiff’s mediation, the Mediator offered
to help Plaintiff secure a Fourth Circuit clerkship, and advocated on Plaintiff’s behalf. Ex. 20,

Conversation 190226_1153 Tr. at 33:13-22, 68:14-15; Ex. 21, Emails from James Ishida to Edward

Smith (Mar. 2019). On March 8, Plaintiff interviewed with a Fourth Circuit Judge, who offered her a

clerkship. Ex. 22, Conversation 190308_1019 Tr. at 60:20-61:15, 64:4-14. Plaintiff accepted the offer,

and accordingly, informed the Circuit Executive that she “no longer wish[ed] to pursue the Chapter

X portion of [her] EDR claim,” meaning that she never filed a complaint under Chapter X. Ex. 23,

Emails from James Ishida to Edward Smith (Mar. 2019); Ex. 16, ¶ 22. She “formally resigned” effective

March 15, Compl. ¶ 464, and on March 18, Plaintiff began her Fourth Circuit clerkship, Ex. 1, ¶ 50.

VII.    The Investigation did not find any discrimination, sexual harassment, or retaliation.
        The investigator concluded that there was no discrimination, sexual harassment, or retaliation

and only identified management and communication issues. See Ex. 25, Counselor’s Report. The

Investigator did “not see a case for retaliation based on [her] investigation and the facts presented by

both sides.” Id. at 11. She also concluded that Plaintiff “experienced in her mind sexual harassment[,]

although the facts discovered in this case find this claim to be very flimsy.” Id. at 14.

                                        LEGAL STANDARD
        A district court shall grant summary judgment if the movant “shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). A dispute is “genuine” “if the evidence is such that a reasonable jury could return a verdict


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for the nonmoving party.” Anderson v. Liberty Lobby Inc., 477 U.S. 242, 247-48 (1986).

                                               ARGUMENT

I.      Plaintiff Has No Remedy.

        The only forms of relief sought by Plaintiff that potentially remain in this case are: (1) a

declaratory judgment that Plaintiff’s “constitutional rights were violated;” and that “the laws,

regulations, and rules that operated to deprive Plaintiff of her rights [were] unconstitutional as applied

to Plaintiff;” (2) an injunction “[e]njoin[ing] any further violation of Plaintiff’s rights; and (3) an award

of “front pay as equitable relief in lieu of reinstatement[.]” Compl. at 84, Requested Relief. However,

there is no equitable remedy available to Plaintiff, in part due to her own conduct. Because her claims

can no longer be redressed, Defendants are entitled to summary judgment.1
        A. There is no basis to award declaratory relief.

        Plaintiff bears the burden of establishing standing for each form of relief sought. Summers v.

Earth Island Institute, 555 U.S. 488, 493 (2009). For a declaratory order to be “a proper judicial resolution

of a ‘case or controversy’ rather than an advisory opinion[,]” it must “settl[e] some dispute which affects

the behavior of the defendant towards the plaintiff.” Hewitt v. Helms, 482 U.S. 755, 761 (1987). Yet there is no

declaratory relief here that would “affect[] the behavior of the defendant[s] towards the plaintiff.” Id.

        Plaintiff seeks declarations that “[her] constitutional rights were violated” and that “the laws,

regulations, and rules that operated to deprive Plaintiff of her rights [were] unconstitutional as applied

to Plaintiff[.]” Compl. at 84, Requested Relief ¶¶ 1-2. Because Plaintiff has been separated from the

FDO for over four years, any declaration that Plaintiff’s rights were violated in the past would bring

her no relief and would amount to nothing more than an advisory opinion. Just. 360 v. Stirling, 42 F.4th

450, 460 (4th Cir. 2022) (denying request for declaratory relief that “would amount to no more than

an impermissible advisory opinion” that would not redress alleged harms).

        B. Plaintiff lacks standing to seek a prospective injunction.


1
  Courts must assure themselves of jurisdiction at each stage of litigation. Lujan v. Defs. of Wildlife, 504
U.S. 555, 561 (1992). To the extent this Court finds that the lack of available relief goes to this Court’s
jurisdiction, this Court may dismiss under Rule 12(h)(3).
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        Plaintiff also lacks standing to pursue prospective relief against any of the Defendants. Her

“standing to seek the injunction requested depend[s] on whether [s]he [i]s likely to suffer future injury”

from the allegedly unconstitutional practice. City of Los Angeles v. Lyons, 461 U.S. 95, 105 (1983).

“Absent a sufficient likelihood that [s]he will again be wronged in a similar way, [a plaintiff] is no more

entitled to an injunction than any other citizen.” Id. at 111.

        Here, Plaintiff asks this Court to “[e]njoin any further violation of Plaintiff’s rights.” Compl.

at 84, Requested Relief ¶ 3—but as the Fourth Circuit noted, under the facts alleged in the complaint,

it would be, at best, “unclear,” without “Strickland’s reinstatement, what those ‘further violation[s]’
might be.” Strickland v. United States, 32 F.4th 311, 366 n.16 (4th Cir. 2022). As it stands, Plaintiff is not

seeking reinstatement, and on the summary judgment record, such relief is not available in any event.

See infra Part I(C)(2) & n.2. Thus, there is no “actual or imminent” threat that Plaintiff’s rights would

be violated in the future by Defendants. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). She is not

facing any ongoing retaliation, nor is her past injury likely to be redressed by such relief. A prospective

injunction is accordingly unavailable as a matter of law.

        C. Plaintiff cannot recover front pay. 2

            1. Front pay is not an available remedy for Plaintiff’s claims.

        Front pay is “awarded for lost compensation.” Pollard v. E.I. du Pont, 532 U.S. 843, 846 (2001).

To be eligible for front pay, Plaintiff must prove that she lost compensation through a wrongful

termination. See Feldman v. Phila. Hous. Auth., 43 F.3d 823, 839 (3d Cir. 1994) (Garth, J., concurring in

part and dissenting in part) (“The purpose of front pay is to make an injured employee whole by

compensating h[er] for future lost earnings resulting from [her] wrongful termination.”).

        Without proof of an actual or constructive termination, a finding of an equal protection

violation would not justify awarding front pay because there would be no connection to any lost

compensation. See, e.g., Spencer v. Wal-Mart Stores, Inc., 469 F.3d 311, 317 (3d Cir. 2006) (“[I]f a hostile


2
  Plaintiff failed to plead a request for reinstatement. See Compl. at 84, Requested Relief ¶ 5 (requesting
front pay in lieu of reinstatement). Any request for reinstatement would fail for the same reasons as
set forth in this section regarding front pay.
                                                      9

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work environment does not rise to the level where one is forced to abandon the job, loss of pay is not

an issue.”); id. n.6 (citing other circuit court decisions); Johnson v. Shalala, 991 F.2d 126, 130 (4th Cir.

1993); Holmes v. Wal-Mart, 2011 U.S. Dist. LEXIS 46020, at *34 (E.D. Va. Apr. 27, 2011) (relying on

Johnson to conclude that hostile work environment claims “do not entitle a plaintiff to recover back

pay and reinstatement unless” they result in “a loss of pay or discharge”). Front pay is also not a

remedy for a procedural due process violation. See Detweiler v. Va. Dep’t of Rehabilitative Servs., 705 F.2d

557, 562 (4th Cir. 1983) (if plaintiff could prove due process violation in the hearing afforded him,

“he should be afforded a rehearing by the panel that comports with the due process clause”); Neal v.

United States Penitentiary Lee, 2022 U.S. Dist. LEXIS 137076, at *5 (W.D. Va. Aug. 2, 2022) (“[T]he

typical remedy for a violation of due process . . . is more process”).

        As she was not actually terminated from the FDO, Plaintiff must prove, inter alia, that she was

constructively discharged to recover front pay on her equal protection claim. “The [constructive

termination] inquiry is objective: Did working conditions become so intolerable that a reasonable

person in the employee’s position would have felt compelled to resign?” Pennsylvania State Police v.

Suders, 542 U.S. 129, 141 (2004). Plaintiff must show “that [s]he was discriminated against by h[er]

employer to the point where a reasonable person in h[er] position would have felt compelled to resign”

and that she actually did resign. Evans v. Int’l Paper Co., 936 F.3d 183, 193 (4th Cir. 2019). Based on the

undisputed facts, Plaintiff cannot demonstrate that she was constructively terminated.

        Plaintiff’s working conditions were not “intolerable” when she resigned in March 2019.

Rather, she testified that she was constructively discharged because “it was clear to [her]” that her

colleagues “did not want [her] there.” Ex. 6 at 111:7-21. Plaintiff is mistaken in her “understanding of

what a constructive discharge is,” which to her means “you are no longer welcome to work in an

environment.” Id. at 112:14-18. But the crucial inquiry for this Court’s “intolerability” review are

frequency and severity. Evans, 936 F.3d at 193. The more continuous and egregious the conduct, the

more likely it is “intolerable.” Id. For the last seven months of her employment before her voluntary

transfer, Plaintiff teleworked and did not see anyone from the office. Ex. 2, ¶¶ 39, 42; Ex. 3, ¶¶ 93-94.

After mid-August, 2018, she did not communicate or meet with her alleged harasser, who was fully

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removed from her chain of command. Ex. 2, ¶ 42.; Ex. 3, ¶ 94; Ex. 36, Second Decl. of Anthony

Martinez; Ex. 6 at 93:3-9. Plaintiff’s only contact with the First Assistant while on telework was being

copied on one work email sent by him when he replied all on a client email. Ex. 6 at 92:5-20.

        Plaintiff’s subjective belief that she was harassed before she began teleworking is insufficient

to establish any violation, much less to show that she was subjected to intolerable working conditions

at the time she resigned several months later. See Carter v. Ball, 33 F.3d 450, 459 (4th Cir. 1994)

(“dissatisfaction with work assignments, a feeling of being unfairly criticized, or difficult or unpleasant

working conditions” are not “intolerable”); Matvia v. Bald Head Island Mgmt., 259 F.3d 261, 273 (4th

Cir. 2001) (“co-worker ostracism, denial of a management position, and the counseling received for

turning in an inaccurate time card would not have compelled the reasonable person to resign”); Triplett

v. N.C. Dep’t of Pub. Safety, 2018 U.S. Dist. LEXIS 150991, at *6-8 (W.D.N.C. Sep. 5, 2018) (denying

request for back pay and front pay where the plaintiff had been “removed from the environment that

she deemed hostile” at the time of her resignation).

        Moreover, “if a plaintiff does not resign within a reasonable time period after the alleged

harassment, [s]he was not constructively discharged.” Landrau-Romero v. Banco Popular De P.R., 212 F.3d

607, 613 (1st Cir. 2000); Montero v. AGCO Corp., 192 F.3d 856, 861 (9th Cir. 1999) (no constructive

discharge where alleged “sexually harassing behavior had ceased three to four months before” plaintiff

resigned). Here, although Plaintiff decided to leave the FDO in November 2018, she did not in fact

resign until almost four months later. See Ex. 26, Email from Caryn Devins to Amaal Scroggins (Nov.

26, 2018) (Plaintiff stating on November 26, 2018 that she had been “constructively discharged” and

was seeking to leave the FDO). Asked why she waited until March 2019 to resign, Plaintiff testified

that she “didn’t want to leave and not have a job” and that she “was trying to figure out if there was

a way to get employment elsewhere.” Ex. 6 at 112:19-25. But a “plaintiff who begins ‘searching for

another job while remaining employed with the defendant militates against a constructive discharge

claim.’” Russell v. Cty. of Rockland, 2017 U.S. Dist. LEXIS 116771, at *15 (S.D.N.Y. July 26, 2017); see

also Baptiste v. Cushman & Wakefield, 2007 U.S. Dist. LEXIS 19784, *35-36 (S.D.N.Y. 2007) (no

constructive discharge where employee began looking for work months before resigning). Plaintiff

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cannot establish that she was constructively discharged and is thus ineligible to recover front pay.

            2. Plaintiff’s conduct is an additional bar to front pay.

        Front pay is also legally unavailable because of Plaintiff’s own conduct. Plaintiff made over a

dozen secret recordings of colleagues while at the FDO. See Ex. 24, Pl.’s Privilege Log; Ex. 6 at 131:18-

133:6. These recordings began on August 3, 2018, and continued through the date she resigned, March

15, 2019. See Ex. 24, Pl.’s Privilege Log; Compl. ¶ 464. She recorded not just meetings related to her

EDR complaint, but also “All Staff” and other “team meetings” within the FDO. See Ex. 24, Pl.’s

Privilege Log at 2, 4. The recordings undisputedly contain privileged FDO client information, id., as
Plaintiff herself admitted during her deposition, Ex. 6, at 135:4-13. Further, after Plaintiff left the

FDO, she retained both the recordings, id., and work e-mails containing privileged client

communications, id. at 151:18-152:1.

        Plaintiff’s retention of privileged information arguably violates the confidentiality provision of

the FDO Employee Handbook, which states that: “Client information is confidential and can be used

for very limited purposes only.” Ex. 24, Employee Handbook, § 5.18. Further: “The removal of any

document from the Defender’s Office, except for official, authorized use, is also prohibited.” Id. Here,

Plaintiff not only had no official or authorized reason to record meetings containing privileged client

information, but she also then removed those recordings and privileged client emails from the FDO

for other than official government purposes—in contravention of FDO policy, see id., and likely also

the Federal Records Act.3 Not only does this raise the specter of misconduct for violating the

confidentiality policy, but the secret nature of the recordings “also undermines the trust between

colleagues necessary to the [FDO’s] team approach.” Ex. 24, Dec. of John G. Baker, ¶¶ 11, 13-14.

3
 See 44 U.S.C. § 3106 (prohibiting the removal of federal records); 44 U.S.C. § 3301(a)(1)(A) (defining
a “record” as “all recorded information . . . made or received by a Federal agency under Federal law
or in connection with the transaction of public business and preserved or appropriate for preservation
by that agency”); see also National Archives, Federal Records Management, What Do Government
Employees Need to Do When Leaving Federal Service?, available at https://www.archives.gov/records-
mgmt/publications/documenting-your-public-service.html#:~:text=Federal%20records%
20must%20be%20maintained,by%20officials%20from%20your%20agency                    (explaining       that
departing employees may only take copies of federal records that are already publicly available, subject
to each agency’s review and approval, and that do not contain Privacy Act information).
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Moreover, her use of privileged client material for her own purposes reveals a “disregard for the

sanctity of the attorney-client relationship.” Id. ¶ 14.

        Plaintiff’s retention of confidential information is covered by several provisions in the

Employee Handbook’s “Disciplinary Actions” section, pursuant to any one of which she could have

been subject to potential discipline, including removal, if she were still an FDO employee. Id. ¶ 15.

For example, her personal use of privileged materials and removal of those materials from the Office,

raises a question of whether she violated the confidentiality policy, “[m]isuse[d]” federal records, or

“discredit[ed]” the office. Id. ¶ 15. Her secret recordings of FDO colleagues without their consent

demonstrates, at the very least, “[d]iscourteous treatment . . . of other employees”. Id. Accordingly,

the current Federal Defender has determined that she is ineligible for reinstatement. Id. ¶¶ 13, 16.

Because Plaintiff is ineligible for reinstatement due to her own conduct, it would be inequitable to

award her front pay here. See, e.g., McKennon v. Nashville Banner Publ’g Co., 513 U.S. 352, 361–62, (1995)

(“[N]either reinstatement nor front pay is an appropriate remedy” where “[i]t would be both

inequitable and pointless to order the reinstatement of someone the employer would have terminated,

and will terminate, in any event and upon lawful grounds”); Sellers v. Mineta, 358 F.3d 1058, 1060, 1064-

65 (8th Cir. 2004) (recognizing that if the FAA could prove that the employee’s termination at a

subsequent employer for processing a false loan application “made her unsuitable for reinstatement

as an air traffic controller” then reinstatement would be unavailable and front pay may not be

appropriate); Jordan v. StoneMor Partners L.P., 2018 WL 1074492, at *14 (W.D. Va. Feb. 27, 2018)

(granting summary judgment to employer and denying reinstatement and front pay where the

employer discovered after the employee’s termination that she had been previously convicted of

crime). For all these reasons, Plaintiff is precluded as a matter of law from receiving front pay.4

        Because none of Plaintiff’s requested relief is available to her, this Court cannot redress

Plaintiff’s claims. Lujan, 504 U.S. at 561; see also Bloch v. Exec. Off. of the President, 164 F. Supp. 3d 841,


4
  Defendants reserve the right to make the argument that Plaintiff is ineligible for reinstatement and
front pay because of the recordings referenced in the Court’s recent favorable ruling on Defendants’
Motion to Strike, ECF No. 233, once Defendants have completed additional discovery on this topic.
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849 (E.D. Va. 2016) (dismissing constitutional claim because “no relief [wa]s available” at the time of

decision). This Court should accordingly enter summary judgment in favor of Defendants.

II.     Defendants Did Not Violate Plaintiff’s Procedural Due Process Rights.

        The Fourth Circuit held that Plaintiff could succeed on her as-applied procedural due process

challenge to the EDR Plan if she could show that she was “led to believe that the [Defender] would

be the final decisionmaker” for her EDR claim. Strickland, 32 F.4th at 356. The undisputed evidence

in the record shows that the Defender would not be the final decisionmaker, nor did Plaintiff

reasonably believe that he would be. Thus, Defendants did not violate Plaintiff’s due process rights.

        The EDR Plan, which Plaintiff testified that she “carefully” read “multiple times” during her

EDR process, Ex. 6 at 15:11-16:2, plainly states that the presiding judicial officer—not the Defender—

is the “final decisionmaker” on EDR claims. The Plan provides that a presiding judicial officer

oversees a hearing on a complaint, decides whether the Plan has been violated, and if so, orders an

appropriate remedy. After a formal EDR complaint is filed under Chapter X, the “Chief Judge or

designee (‘judicial officer’) shall hold a hearing on the merits” of that complaint, unless he dismisses

the complaint or determines that no material or factual dispute exists. Ex. 12, Ch. X § 10(B)(1).

“Judicial officer” is defined as “a Circuit Judge (including Senior Circuit Judge) of the United States

Court of Appeals for the Fourth Circuit appointed pursuant to Article III of the United States

Constitution.” Id., Ch. I § 3(D). The Plan also states that, “where the presiding judicial officer finds that

the complainant has established by a preponderance of the evidence that a substantive right protected

by this Plan has been violated,” “remedies may be provided in accordance with § 12 of this Chapter[.]”

Id., Ch. X § 10(B)(2)(f) (emphasis added). And under § 12, “[w]here judicial officers acting pursuant to

§ 10 or § 11 of this Plan find that a substantive right protected by this Plan has been violated, they may

order a necessary and appropriate remedy.” Id., Ch. X § 12(A) (emphasis added).

        Plaintiff testified that, during her EDR process, she “thought a presiding judicial would be the

officer at the final hearing.” Ex. 6 at 18:5-9; see also id. 17:18-21 (testifying that, “under the terms of

the plan,” a judge would serve as the presiding judicial officer); id. 19:3-4 (testifying that she believed

that if she proceeded to the complaint and hearing stage of Chapter X, “there would be a presiding .

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. . judicial officer” conducting a hearing and deciding on remedies); id. 24:8-11 (testifying that, during

her mediation, she understood a hearing officer on her claims would be a judge). Given Plaintiff’s

familiarity with the Plan and her sworn testimony that she believed a judicial officer would oversee

her Chapter X EDR proceedings if she filed a formal complaint, she did not and could not have

reasonably believed that the Defender would have been the final decisionmaker on her claims.

        Further, Plaintiff was repeatedly told by a staff member in the AO’s Office of Fair

Employment Practices that the Defender had no authority to decide her EDR claims. On September

13, 2018, the staff member told Plaintiff that “the Federal Public Defender is not going to have any

authority in terms of how the matter is resolved in an EDR setting,” because “he will not be the

mediator, nor will he make the final decision before the court.” Ex. 27, Conversation 180813_1633

Tr. at 9:15-22. Later, Plaintiff asked her: “And the final decision will be made by who?” Id. 57:3-4. The

staff member responded: “It will be whoever is the presiding judicial officer.” Id. 57:5-8. The staff

member further explained that the Defender was “not going to have the authority to decide your case”

and “not going to have the authority to render a decision.” Id. 37:1-7. The Circuit Executive also told

Plaintiff that the Defender would not decide the merits of her EDR claims. See, e.g., Ex. 28,

Conversation 190117_1621 Tr. at 37:19-38:2 (if Plaintiff filed a formal complaint, “Judge Gregory will

appoint a judicial officer and there will be findings on the merits”). Based on these unambiguous

statements by both the EDR Coordinator and the AO staff member, Plaintiff could not reasonably

conclude that the final decisionmaker would be the Defender and not the presiding judicial officer.

        Plaintiff nevertheless claims her belief came from a handful of comments made by the

Mediator and the Judicial Integrity Officer. See Ex. 6 at 13:21-25. The undisputed evidence shows that

neither person told Plaintiff that the Defender would be the final decisionmaker on her EDR claims.

It would have been unreasonable for Plaintiff to form such a belief based only on several out-of-

context remarks. See Coker v. Trans World Airlines, Inc., 165 F.3d 579, 586 (7th Cir. 1999) (plaintiff could

not have relied on statements “in light of her easy access to . . . ways of ascertaining the true facts”).

        As to the Mediator, Plaintiff relies on his statements that the Defender “was the ‘decision

maker’ and that no hearing officer would ‘micromanage’ him or tell him how to do his job.” Compl.

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¶ 415. These statements, which occurred weeks apart, reflect only the Mediator’s view that any

resolution reached during mediation would have to be agreed to by the Defender, as the counterparty

to the negotiation. On February 7, 2019, the Mediator said that the Defender was the “decision maker”

during a broader discussion about the specific relief Plaintiff sought during the mediation phase of

Chapter X. See Ex. 29, Conversation 190207_1056 Tr. at 44:14-52:4. As the Mediator told Plaintiff,

since the Defender was the other party in the negotiation, he had to decide whether to accept Plaintiff’s

requests affecting the FDO at the mediation stage. See id. at 34:5-7 (explaining that, for “any resolution

with you continuing to work in the Western District, he’s the head and so he’s got to sign off on it”);

see also Ex. 30, Dep. of Edward G. Smith, Esq. Tr. at 70:12-23 (testifying that he “tried” to explain to

Plaintiff that “the only person in that office that had the authority or the power to agree to the things

that would have to be agreed to was [the Defender]”).

        During the February 26, 2019 mediation, the Mediator told Plaintiff that she could negotiate

more granular remedies in mediation than she might obtain from a judicial officer because Plaintiff

had more control over the negotiation and a judge may not want to “micromanage” the office. Ex.

31, Conversation 109226_1153 Tr. at 47:8-13 (“Therefore I think in drafting a settlement agreement that

binds [the Defender], you have the better ability to work these things in there, because I don’t think the

judge is going to micromanage this office and tell a federal defender how to do his job and run his

office.”). As the context reveals, in using the word “micromanage,” the Mediator meant that the unit

executive has a better ability to offer solutions tailored to the office, because anyone else “doesn’t

know the office” and “doesn’t know the effect of doing these things for Plaintiff.” Ex. 30 at 87:25-

88:10. It is particularly implausible that Plaintiff relied on this offhand remark to mean that the

Defender was the decisionmaker because the Mediator specifically told Plaintiff that the Defender

“has no power” during mediation and that he is acting as a negotiating party. Ex. 31, at 22:16-:17; see

also id. 22:17-21 (explaining that the Defender is “just the unit head and he’s negotiating with me and

if you removed [the Defender], there’s nobody I can talk to, to resolve this, because nobody has

authority to” grant her requests); id. 23:11-24:2 (“I’ve had many complaints where the unit head was

the issue and they always handled the mediation” because “you can’t have somebody come in and

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defend [the Defender] in his office. [The Defender is] the only one who can do that.”). The Mediator

also correctly informed Plaintiff, consistent with the EDR Plan, that a presiding judicial officer would

be the final decisionmaker over her EDR claims. Ex. 29 at 35:16-:20 (stating that if Plaintiff’s claims

weren’t resolved during mediation, “you get a hearing in front of a judge”); contra Spreen v. Brey, 961

F.2d 109, 111-12 (7th Cir. 1992) (denying summary judgment because Defendants misled Plaintiff

into resigning her employment by making “material misrepresentations to her”).

        As to the Judicial Integrity Officer (“JIO”), Plaintiff relies on two alleged remarks made on

February 14, 2019: (1) that a presiding judicial officer “would not have the authority to order the First

Assistant’s termination” and (2) that it was “jurisdictional” that “Article III judges do not have the

authority to ‘manage’ a federal defender office.” Compl. ¶ 439. Assuming the JIO made these

statements (which Defendants dispute), it would not be reasonable for Plaintiff to infer from them

that the Defender would be the final decisionmaker on her EDR claims. Whether the presiding judicial

officer has the authority to order the First Assistant’s termination is wholly distinct from whether the

presiding judicial officer or the Defender decides whether Plaintiff’s EDR claims have merit and can

be appropriately redressed. During the same conversation, the JIO told Plaintiff that “under the EDR

Plan that applied to her,” the presiding judicial officer could order remedies contemplated under the

EDR Plan against any employing office, including a Federal Public Defender organization, designed

to make her ‘whole[.]’” Ex. 44, Second Decl. of Jill Langley, ¶ 8. Whether Article III judges can

“manage” a federal defender office does not bear on who adjudicates Plaintiff’s EDR claims. To the

extent Plaintiff subjectively believed these statements established that the Defender would be the final

decisionmaker if she filed a formal complaint under Chapter X—in conflict with the terms of the

EDR Plan and what Plaintiff had been told by the EDR Coordinator or the staff member—she could

have sought clarification, which she inexplicably thought was “unnecessary.” See Ex. 6 at 33:20-21.

        Plaintiff takes the statements from the Mediator and the JIO out of context and ignores that

both individuals otherwise told Plaintiff that a judicial officer would be the final decisionmaker on her

claims. These remarks in no way suggest that “continuing with the EDR process would be futile,”

Strickland, 32 F.4th at 356. Plaintiff thus made a voluntary choice not to file a formal complaint under

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Chapter X and avail herself of that aspect of the EDR Plan’s extensive process. Accordingly,

Defendants did not deprive her of any process at all. See Stone v. Univ. of Md. Med. Sys. Corp., 855 F.2d

167, 172-78 (4th Cir. 1988) (holding that an employee who resigned “was not ‘deprived’ of any

protected interest in his employment by the state” and that “effectively disposes of his due process

claim”). And the process that Plaintiff did receive under Chapter X of the EDR Plan—such as the

counseling and mediation undertaken to resolve her claims—satisfy constitutional procedural due

process standards. See Mathews v. Eldridge, 424 U.S. 319, 335 (1976); see also Strickland, 32 F.4th at 354

(upholding the EDR Plan as facially valid). The Court should therefore enter summary judgment for

Defendants on Plaintiff’s procedural due process claim.

III.    Defendants Did Not Violate the Equal Protection Clause.

        The Fourth Circuit identified the four elements of Plaintiff’s equal protection claim. Strickland,

32 F.4th at 359. Plaintiff must show, among other things, that she “was subjected to sexual harassment

by another employee or supervisor;” and that “supervisory officials and/or officials responsible for

overseeing the court’s EDR plan responded to” any allegations of such harassment to which they were

alerted “with deliberate indifference[.]” Id. Plaintiff cannot establish either of these two necessary

elements as a matter of law. 5
        A. Plaintiff did not suffer sexual harassment.

        Actionable sexual harassment can be based on a hostile work environment or quid pro quo

theory. See Okoli v. City of Balt., 648 F.3d 216, 220, 222 (4th Cir. 2011). Neither was present here.

                1. There was no hostile work environment.
        Under the hostile work environment theory, the plaintiff must show: “‘(1) unwelcome

conduct; (2) that is based on the plaintiff’s sex[;] (3) which is sufficiently severe or pervasive to alter

the plaintiff’s conditions of employment and to create an abusive work environment; and (4) which is

imputable to the employer.’” Id. at 220. Here, Plaintiff’s claim fails.


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  Defendants also dispute that Plaintiff has met any of the other elements of a deliberate indifference
claim, and they reserve the right to raise further arguments on these elements in opposition to
Plaintiff’s summary judgment motion or at trial.
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        First, Plaintiff lacks evidence to support a finding that the First Assistant’s conduct was

unwanted. See Meritor Sav. Bank, FSB v. Vinson, 477 U.S. 57, 68 (1986) (“inquiry is whether [plaintiff]

by her conduct indicated that the alleged sexual advances were unwelcome[]”); Shan Zhao v. Kaleida

Health, 2007 U.S. Dist. LEXIS 103253, at *8 (W.D.N.Y. Aug. 8, 2007) (“When welcomeness is at issue

. . . . [t]riers of fact rely on objective evidence, rather than subjective, uncommunicated feelings”)

(quotation omitted). Plaintiff points to a small number of interactions between her and the First

Assistant to support her sexual harassment allegations. She first references three occasions in June

2018, when, in the course of email communications about work topics, the First Assistant offered to

get a drink with Plaintiff, each time giving her the option to decline. Ex. 6 at 38:10-13, 47:2-49:11; Ex.

9 at US90 (“I’m happy to offer a drink and an ear if you need one, though I get the feeling you are not

comfortable talking to me about it. Might I suggest Mary Ellen?”); id. at US91 (“I’m going to get this

filed and get a celebratory drink. You’re welcome to join me, but if I recall correctly, you have an

appellate brief to write”); Id. at US93 (“We can do it over lunch, or cut out early one day for a

celebratory post-Davis drink, or we can just do it in the office”).

        The evidence does not suggest those emails were unwelcome. As Plaintiff conceded, it was

not unusual for attorneys in the FDO to get drinks together. Ex. 6 at 54:7-10. Plaintiff and the First

Assistant drank alcohol together on several prior occasions, including at least one time at Plaintiff’s

invitation. Ex. 6 at 50:5-53:16; Ex. 7, ¶¶ 3-4. Also, in March 2018, Plaintiff sent the First Assistant

multiple photos of a bottle of gin. Ex. 32 at US2902-04 (Text messages exchanged between J.P. Davis

and Caryn Devins). When the First Assistant responded, “now we have to throw down for real,”

Plaintiff replied, “Yeah but you have to get a full bottle first :)” Id.; Ex. 6 at 54:16-55:25 (Plaintiff

testifying it was possible that statement meant she was interested in getting a drink with the First

Assistant). In May 2018, Plaintiff said to the First Assistant, “anytime you want to buy me lunch or a

drink, I’ll take it,” or words to that effect. Ex. 6 at 46:22-47:1; Ex. 2 ¶ 20(f). Plaintiff testified that she

had felt comfortable drinking with the First Assistant, had a friendly relationship with him, and never

told him she was no longer comfortable drinking with him. Ex. 6 at 56:1-15; 75:11-18; Ex. 7, ¶ 4.

        Plaintiff also complains that the First Assistant requested to meet with her on June 29, 2018.

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Ex. 6 at 49:12-21. The meeting was to discuss work topics, Ex. 7, ¶ 5, and Plaintiff had not told the

First Assistant that she was uncomfortable meeting with him, id. ¶ 6. Around the same time (June

2018) Plaintiff herself requested to meet with the First Assistant to discuss work topics, on multiple

occasions. Exs. 33, 34, Emails exchanged between J.P. Davis and Caryn Devins (June 2018).

        Next, Plaintiff complains that the First Assistant offered her a ride home on June 21, 2018. It

was raining at the time, and Plaintiff was planning to ride her bike home. Ex. 2 ¶ 30. The First Assistant

texted Plaintiff an offer to drive her home, and then briefly waited in the lobby because Plaintiff had

not responded to his text, and it was still raining heavily. Id. ¶30. Notably, Plaintiff had requested the

First Assistant give her rides on numerous previous occasions, and the First Assistant had no reason

to suspect this ride offer would be unwanted. Ex. 6 at 66:6-67:13; Ex. 7 ¶ 3.

        Plaintiff also contends that an email with the subject line “mas dinero” from the First Assistant

constituted a sexual advance. Ex. 9 at US89; Ex. 6 at 56:24-58:11. The email was in response to

Plaintiff’s demand that she receive more money or she would quit. Id. at 45:15-46:17; Ex. 2 ¶¶ 20-22.

The email’s use of the phrase “pay-for-stay” was a joking reference to Plaintiff’s own demand for an

increase in pay in order to stay at the FDO. Id. ¶ 22. Plaintiff’s interpretation of that email as having a

sexual connotation is inexplicable and unreasonable. See Ex. 6 at 58:18-60:1 (conceding that words

used in the email on their own do not have a sexual connotation); id. at 60:20-24. Plaintiff’s current

interpretation of the email is also inconsistent with her interpretation when she received it. Then, she

believed it meant that the First Assistant “would raise [her] pay if [she] stayed in Charlotte.” Id. at 61:7-

62:10; Ex. 35, Email from Caryn Devins to Nancy Dunham (Aug. 6, 2018) at US1074.

        Second, Plaintiff lacks evidence to support a finding that the First Assistant’s conduct was

based on Plaintiff’s sex. No evidence suggests that the alleged conduct connoted a romantic or sexual

interest. Moreover, the First Assistant was Plaintiff’s mentor, Ex. 2, ¶ 3, so it is reasonable that he

would offer to spend time with her and discuss her concerns about work, including pay.

        Third, as a matter of law, the First Assistant’s alleged conduct was neither severe nor pervasive.

As discussed, the alleged harassing conduct is that the First Assistant (1) offered to get a drink with

Plaintiff on three occasions; (2) requested to meet with her to discuss a work-related issue; (3) offered

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her a ride home when it was raining; and (4) informed her that the FDO could potentially increase her

pay to retain her as an employee. Ex. 6 at 38:3-17. There is no evidence to support a conclusion that

this conduct was sexual in nature or otherwise inappropriate. Rather, the conduct involved ordinary

workplace interactions and falls far short of the actually offensive conduct that courts routinely find

to be not severe or pervasive as a matter of law. For example, in Hopkins v. Baltimore Gas & Electric

Company, 77 F.3d 745, 753-54 (4th Cir. 1996), abrogated on other grounds by Bostock v. Clayton County, 140

S. Ct. 1731 (2020), the Fourth Circuit found a supervisor’s conduct towards a subordinate not

sufficiently severe or pervasive to constitute actionable sexual harassment even though the supervisor

allegedly made repeated sexual innuendos, regularly commented on the plaintiff’s appearance,

frequently entered the bathroom when the plaintiff was there alone, asked the plaintiff about his sexual

activity, held a magnifying glass over the plaintiff’s crotch and asked “where is it,” and kissed the

plaintiff, among other conduct. Id. at 747-48. In another case, the Fourth Circuit ruled that a supervisor

asking a subordinate if he wanted to get a hotel room at a medical conference and wondering aloud

what the subordinate would “taste like” were neither severe nor pervasive. Pesso v. Montgomery Gen.

Hosp., 1999 U.S. App. LEXIS 10207, at *5-6 (4th Cir. May 24, 1999). Numerous decisions of other

courts likewise show that objectively offensive conduct (in contrast to the inoffensive conduct alleged

here) has been held neither severe nor pervasive. 6



6
  E.g., Quinn v. Green Tree Credit Corp., 159 F.3d 759, 768 (2d Cir. 1998) (harassment claim failed despite
allegations that co-worker commented that plaintiff had been voted the “sleekest ass” in the office
and had deliberately brushed plaintiff’s breasts with papers); EEOC v. Appalachian Power Co., 2019 U.S.
Dist. LEXIS 163117, at *16 (W.D. Va. Sep. 24, 2019) (evidence that supervisor gave plaintiff gifts;
told her he had a crush on her, loved her, and wanted to leave his wife for her; texted her that he
wanted to take her out and treat her like a queen; and fired her was not severe or pervasive because
“expressing romantic interest in a coworker or subordinate or asking them out is not enough on its
own to establish a Title VII hostile environment claim”); Gregg v. N.Y. State Dep’t of Tax’n & Fin., 1999
U.S. Dist. LEXIS 5415, at *35-36 (S.D.N.Y. Apr. 19, 1999) (finding ten to fifteen allegedly
inappropriate conversations, four instances of allegedly offensive touching, and repeated invitations
to meals and drinks over three to four months not sufficiently severe or pervasive); Akonji v. Unity
Healthcare, Inc., 517 F. Supp. 2d 83, 97-99 (D.D.C. 2007) (supervisor’s acts of touching plaintiff’s
buttocks and thigh, trying to kiss her, calling her beautiful, and asking her to accompany him on
weekend trip were “not ‘sufficiently severe or pervasive to alter the conditions of [plaintiff’s]
employment”).
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                2. There was no quid pro quo harassment.

        The key distinction between hostile environment and quid pro quo claims is whether the

employee suffered some tangible employment action as a result of the harassment. Burlington Indus.,

Inc. v. Ellerth, 524 U.S. 742, 751 (1998). “Cases based on threats which are carried out are referred to

often as quid pro quo cases, as distinct from bothersome attentions or sexual remarks that are

sufficiently severe or pervasive to create a hostile work environment.” Id.; see also Okoli, 648 F.3d at

222 (listing elements of quid pro quo claim). A plaintiff must prove a causal connection between his

or her rejection of unwelcome sexual advances and a tangible employment action. See Johnson v.

Donohoe, 2013 U.S. Dist. LEXIS 185168, at *18-19 (D.S.C. Nov. 26, 2013).

        Here, Plaintiff’s quid pro quo claim fails, first, because Plaintiff was not subject to unwelcome

sexual harassment and because the First Assistant’s conduct was not based on Plaintiff’s sex, as

discussed above. In addition, Plaintiff’s response to the conduct did not result in any tangible

employment action. “Absent proof of a tangible employment action being taken against her, [Plaintiff]

cannot establish the ‘quid’ in her claim of quid pro quo sexual harassment.” Riffle v. Sports Auth., Inc.,

1999 U.S. Dist. LEXIS 14588, at *16 (D. Md. July 30, 1999). Plaintiff contends that the First Assistant

retaliated against her for not submitting to his alleged advances in three ways. First, she claims he

interfered with her progression to an AFD position by being “discouraging of [her] for trying to get

trial experience[.]” Id. at 38:16-39:15. Defendants dispute that the First Assistant discouraged her from

seeking trial experience, but even if true, discouraging comments do not amount to a tangible

employment action. Ellerth, 524 U.S. at 761 (tangible employment action usually “constitutes a

significant change in employment status, such as hiring, firing, failing to promote, reassignment with

significantly different responsibilities, or a decision causing a significant change in benefits”).

        Second, Plaintiff claims that she was not considered for a promotion to GS-15 “or any other

salary increases for [her] excellent performance.” Ex. 6 at 39:4-19. But the First Assistant was not

involved in any decisions about Plaintiff’s pay, Ex. 2, ¶ 41, so there is no causal connection between

any alleged harassment and any pay decisions. See Ellis v. Dir., CIA, 1999 U.S. App. LEXIS 21638, at

*8-9 (4th Cir. Sep. 10, 1999) (employment action was not related to plaintiff’s denial of sexual advances

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because the alleged harasser “had no role” in the employment decision).7 Indeed, the First Assistant

did not have the authority to make pay decisions, which were exclusively the responsibility of the

Defender. Ex. 2, ¶ 2; Ex. 3 ¶ 23. That too undermines Plaintiff’s claim. See Farley v. Am. Cast Iron Pipe

Co., 115 F.3d 1548, 1552-53 (11th Cir. 1997) (alleged harasser’s lack of authority to terminate the

plaintiff’s employment precluded a quid pro quo claim based on termination); Atkins v. Comp. Scis.

Corp., 264 F. Supp. 2d 404, 412 (E.D. Va. 2003) (same).

        In any event, there is no evidence suggesting Plaintiff was improperly denied a promotion or

pay raise. In August 2018, Plaintiff was reclassified—at her request—from a R&W Specialist to an

AFD. Ex. 37, Email from James Ishida to Anthony Martinez (June 12, 2019) at US622; Ex. 3, ¶¶ 27-

34; Ex. 1, ¶¶ 17-22. That reclassification moved Plaintiff from the GS scale to the AD system, so

Plaintiff was not eligible for a promotion to GS 15 as an AFD. Ex. 1, ¶ 19. Plaintiff’s pay as an AFD

was the maximum the Defender was authorized to approve. Id. ¶ 22. Plaintiff has acknowledged that

her reclassification to an AFD was done for a non-discriminatory and non-retaliatory reason—that it

benefitted the FDO for purposes of case weight measurement. Ex. 6 at 97:5-21.

        Third, Plaintiff claims that the First Assistant “disparaged” and “criticized” her to members

of the management team because Plaintiff attempted to cancel her attendance at a client interview.

Ex. 6 at 39:20-40:5. To be sure, the First Assistant felt Plaintiff had acted inappropriately when Plaintiff

cancelled the commitment. Ex. 2, ¶ 25. But it is well-settled that criticism does not constitute an

adverse employment action. See Tepperwien v. Entergy Nuclear Operations, Inc., 663 F.3d 556, 570 (2d Cir.

2011) (“[C]riticism of an employee . . . is not an adverse employment action.”); Jones-Davidson v. Prince

George’s Cty. Cmty. Coll., No. 13-cv-2284-AW, 2013 U.S. Dist. LEXIS 159422, at *14 (D. Md. Nov. 7,

2013) (“[D]isparaging remarks made by a supervisor do not state an adverse employment action.”).

        B. Plaintiff did not experience deliberate indifference.

        No reasonable factfinder could conclude that Defendants’ undisputed actions in response to

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  See also Idusuyi v. Tenn. Dep’t of Children’s Servs., 30 F. App’x 398, 401 (6th Cir. 2002) (no causal
relationship between refusal of sexual advances and adverse employment action when alleged harasser
had no role in making the adverse decision); Highlander v. K.F.C. Nat’l Mgmt. Co., 805 F.2d 644, 649
(6th Cir. 1986) (same); Ponticelli v. Zurich Am. Ins. Grp., 16 F. Supp. 2d 414, 434 (S.D.N.Y. 1998) (same).
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Plaintiff’s complaints of sexual harassment meet the high standard required for a showing of deliberate

indifference. See Strickland, 32 F.4th at 359. For that reason alone, Defendants are entitled to summary

judgment on Plaintiff’s equal protection claim. “Deliberate indifference is a very high standard—a

showing of mere negligence will not meet it.” Baynard v. Malone, 268 F.3d 228, 236 (4th Cir. 2001)

(citations omitted). “Actions that are in hindsight unfortunate or even imprudent will not suffice.” Id.

Importantly, as relevant here, the fact that a plaintiff “advocated for stronger remedial measures” does

not render official actions “clearly unreasonable” sufficient to support a finding of deliberate

indifference. S.B. ex rel. A.L. v. Bd. of Educ. of Harford Cnty., 819 F.3d 69, 77 (4th Cir. 2016).

        After Plaintiff informed the Federal Defender of her allegations of sexual harassment in

August 2018, Ex. 37 at US622, the Federal Defender took prompt action to investigate her allegations.

He expeditiously reported Plaintiff’s allegations to the EDR Coordinator, triggering an investigation

under Chapter IX, id., appointed an independent investigator, Ex. 42, Email from Heather Beam to

James Ishida (Aug. 15, 2018), took Plaintiff entirely out of the First Assistant’s chain of command,

Ex. 3, ¶ 94; Ex. 36, reclassified Plaintiff to an Assistant Federal Public Defender at her request,8 Ex.
37 at US622; Ex. 6 at 123:25-124:3, instructed the First Assistant to cease contact with Plaintiff, Ex.

11, allowed Plaintiff to telework, Ex. 4 at 236:20-22, and participated in mediation, even offering to

give Plaintiff his own office in Asheville, Ex. 30 at 46:4-16. When, as here, supervisory officials

thoroughly investigated allegations and separated the alleged harasser from the plaintiff, courts

routinely find that summary judgment is appropriate. See, e.g. Stiles ex rel. D.S. v. Grainger Cnty., Tenn.,

819 F.3d 834, 849 (6th Cir. 2016) (holding there was no “triable issue as to whether Defendants

exhibited deliberate indifference” when the school “investigated promptly,” “disciplined students

found guilty of wrongdoing,” and separated the alleged harasser from the purported victim); Greene v.

Friendship Pub. Charter Sch., Inc., 2019 WL 918307 at *9–12 (D.D.C. Feb. 25, 2019) (similar).

        The Circuit Executive also acted promptly to address Plaintiff’s complaints. At a minimum,

he facilitated the investigation of Plaintiff’s allegations, Ex. 42, appointed a mediator, Ex. 43, Email

8
 Plaintiff claims that, despite her affirmative request, this conversion amounted to retaliation. For the
reasons explained in III.A.2, supra, no reasonable factfinder could agree.
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from James Ishida to Ed Smith (Jan. 31, 2019), spoke with Plaintiff repeatedly and at length about the

EDR process, Ex. 38, Conversation 180905_1042 Tr., Ex. 15, ¶ 16, discussed proposed solutions with

the Federal Defender, id., and attempted to help Plaintiff seek employment outside of the FDO, Ex.

39, Emails from Caryn Devins to James Ishida (Jan. 2019). Courts have rejected claims of deliberate

indifference when administrators have done less than the Circuit Executive did here. See, e.g. Frederick

v. Simpson College, 149 F. Supp. 2d 826, 840 (S.D. Iowa 2001) (finding no deliberate indifference when

College conducted a “prompt” but “subpar” investigation by investigator who was not “adequately

trained to handle” the complaint); S.T. v. Yakima Sch. Dist. No.7, Case No. 11-cv-1385, 2013 WL

807197 at *8 (E.D. Wash. Mar. 5, 2013) (finding no issue of fact as to deliberate indifference when

Defendants “took prompt steps to investigate” and followed the “set of policies and procedures” in

place for sexual harassment investigations,” while the plaintiffs “chose not to avail” themselves of a

formal hearing and appeal after the investigation.”). Indeed, Plaintiff at her deposition could not

present a coherent basis for her belief that the Circuit Executive and Chief Judge Gregory violated her

constitutional rights. Ex. 6 at 105:4-109:15. 9
        Plaintiff would have accepted nothing less than the First Assistant’s termination and the

Federal Defender’s disqualification from the EDR process in response to her sexual harassment

allegations. Ex. 6 at 35:23-36:5, 109:2-12. 10 But her preferences are irrelevant in determining whether

Defendants’ conduct was “clearly unreasonable.” S.B. ex rel. A.L., 819 F.3d at 77.

                                                  CONCLUSION

        For the foregoing reasons, the Court should grant Defendants’ Motion.

9
  The claims against Chief Judge Gregory and the Circuit Executive, along with the claims against the
other non-entity defendants, should be dismissed as duplicative of claims against the entities. See Love-
Lane v. Martin, 355 F.3d 766, 783 (4th Cir. 2004).
10
   The Chief Judge’s denial of Plaintiff’s motion to disqualify the Federal Defender was reasonable
because at no point during the EDR process was the Defender serving in a neutral role, such as EDR
coordinator, investigator, counselor, mediator, or presiding judicial officer. During the mediation, the
Defender represented the named respondent employing office, which is an interested party to an EDR
matter. See Ex. 40, Defs.’ Obj. & Resp. to Pl.’s Fourth Set of Interrogs. at 18. The Defender
participated in the investigation only as a witness and the EDR Coordinator received the investigation
report, not the Defender. See, e.g., Ex. 41, Emails from James Ishida and Caryn Devins (Sept. 2018).
And Plaintiff never filed a formal complaint under Chapter X.
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Dated: June 1, 2023                   Respectfully submitted,

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